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Suren N. Weerasuriya _(2_78521)

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Aitorneys for Plaini'ifi’ 1
SUPERI_OB. COURT OF 'I`HE S'I'ATE OF ALIFORNIA ,
FOR'THE COUNTY OF LOS A.N ELES _
_ LMI'ED J_URISIJICTION a . '
)cmNo. l 15\('11124
_ _ ) . n
MIcHELLE s'rRoU'r, ) (Amounc nol co exceed slo,ooo)
) ` ~
Plnintiff, ) 1. Viola_'on ufRnsenIhaI Fair Debt
) Colledtion Practioas Act ' `
va. ) _ 2. _ V.iola on ofFair Dobt Golleot.ion
' ) Pmcd A¢e '
CRE`DIT CORP SOLUTIONS, INC., g `
Defcndant. ) ' i
_ )
) _
) -.
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1.' monumoN .
1. 'I'his is an action for damages brought by an indi ":hm] consumer for Dofmdmt's

violations of the Rosenthal']?air De‘ot Collec'tion Prwtices Ac ., CaJ C."lv Code §1788, et seq.

(her¢inaner "RFDCPA;'_) and me Fasr` mem common previous A¢t, 15 U.s.c. §1692, ex seq.

(heréinahm “FDCPA”),' both of which prohibit debt educators from engaging in abusive,

decepig‘ve, and unfair pmciices.

Comp|ulm - l

 

 

 

 

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Case 2:15-cV-086§_6;FMO-JEM Do`Cument 3-1 _|_:i|ed 11 05/15 Page 2 of 14 Page |'D #,9__,11

l Il. PARTIES
2.' Pl'aintiff, lvliehelle lStrout (“Plaintii"i"), is a natmal person residing in Los
Angeles County in the state of Califoi'nia, and is a “consumen ‘ as defined by the FDCPA, 15

U.S.C. §1692a(3) and is a “debtor" as deiined by Ca| Civ Code §1788.201).

 

5 3. At all relevant times herein, Credit Corp Scluticns, lno. (F‘Defendant" was ab
7 company engaged, by use of the rnails and telephone, in the business of collecting a debt from
8 Plaintiff which qualifies as a “deht`," as defined by 15 U.S.(;'.`. §16923(5), and a “consu.mer
debt," as deined by Cal Civ Code §l788.2(l). Defendant regularly attempts to collect debts

n alleged to be due another, and therefore is a “debt ecil_ectot" as defined by the FDCPA, 15

n U.s.c. §1692§(6), and RFDCPA, ca1 civ code §1783.2(¢).
' \
'3 ‘m. FACTUAL ALLEGA'HONS

l 14 4. At various and rnultiple times prior to the f ling of the instant complaint
:: including within the one `jeer preceding the filing of this contplaint, Defendant contacted
17 PLAINTIFF in an attempt to collect an alleged outstanding debt. l
13 5. ' _ On or around lepril of 2015, Defendant began co naming Plaintiff ecnceming an
w alleged debt owed. l
:(: 6. Defendant called Plaintiff on Plaintist cellular 4elephone number ending in -,
t 22 1276. _ n
23 7. Defendant placed a barrage o_f calls to Plaintiff. l)efendant began munerously

34 calling Plaintiff regarding an alleged outstanding debt.' The calls from Defendant were so
numerous, frequent, and repetitive that Plnintiii" felt harassed bygsaid calls. 'l`he number,
pettern, and frequency cf calls to Pla.intii’f also evidences Defen\iant’s intent to herass Plaintiff.

y As an illustrative example, Defendant contacted or attempted to contact Plaintift' over thirty

 

 

Compluint - 2

 

 

 

 

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i
\ (30) times on the span of one (l> day, on _or around April 1_4, 2 15. ~Defendant contacted or
. . '. _ . l
2 attempted to contact Plaintiff a`s early as 7 :30 a.m.‘ 'i § ~
, `8.` On or around May 7, 2015, Plaintiff obtained legal counsel regarding the instant
4 _ _ ' ' t
metter. Plaintiff then sent _a notice of legal representation letter|l to Defendent on the same date.
5 . v . . `
Defendant has failed‘to respond at this time. . ' ';
6 - ' ` . _ .
' 9. Defendent’s conduct violated the FDCPA and inc R.FDCPA in multiple ways,
8 includinglbu't not`limited to: ` |
9 ' .` ` ' i .
e) Engaging in conduct the natural consequencel of which is to
‘° harass, oppress, or abuse Plaintiff (§l 692¢1)); '
n b) Causing a telephone to ring repeatedly or continuously/to annoy
12 - Plai.utiff(Cal Civ Code §l?SS.ll(d)); !
i
n c] Communicating, by telephone or in person, with Plaintiff with
14 such frequency as `to 'be unreasonable end ic constitute an
harassment to Plnintiff under the circumstance§ (Cal Civ Code
ls §l?ti$.ll(e)); . ' ' '
. 15 `d) Causing Plaintiff telephone to ring repeatedlyicr continuously
17 with intent to harass, unnov or abuse Pla.intiii` (§ litiQZd($_)); and
ls e) Communlcating with Plaintitf at times or pla§:es which were
known or should have been know to be ' convenient for
” _ Ptainu_rr(§1692e(a)(1)). l
20 ‘ l ~_
10. As a result of the above violations of the FQCPA_ and Rl"`DCPA1 Plaintiff
11 ‘ l 1 -
22 suffered and continues 'to suffer injury to Plaintiff’s feelings, personal hurniliation,l
23 emberrassment,' rnental enguish.and emotional distress. _Dei:`endant_ is liable to Plaintiff for y
14 Plaintiff’s actual damages, statutory damages and costs_and auo:mey’s fees.
25 ,. cou 1= LATION ore sENrnAL
26 FAIR DEBT QOLLEUELOE §RACTIC ES AQI_
27 ll. Plaintiff reincorporates by reference all o_t`the prefeding paragraphs
23 ' l `
!
complaint-3 `

 

 

 

 

 

 

   

l 12. To the extent that Defendant’s actions, counted lbove, violated the RFDCPA,

those actions were done knowingly.and \`villfully. t
. PRAYER ron RELrEF l `

. l
WHBR.EFOR.E., Plaintif’f respectfully prays that judgmelnt be entered against Defendant

6 for the following: . l ~

 

-7 ` - A. Actual damages;

5 B statutory emg'nro_rwinnl and neg1igln: viblnions;

9 C.' Costs and reasonable _a_ttomey’s fees, f b

10 _ D. _ For such other and iin'ther relief as may l§e just a'nd proper.

“ b QQ;M n= viola TIQ;§ or rand gear

l2 n - COLL§CTION mCTICES A:CT

13 ` 13. PlaintiB` reincorporates by reference all of the pr:éceding paragraphs

14' ' PRAYE_R ron RELI_EF `

:: ‘llIl-IBREFOR.`E, Plaintifl_` respectfully prays that judgment be entered against l`)efendant

17 for the following:

13 _ A. Actual dar_nages; d l

 

 

19 B. » Statutory damages;
29 C. ‘~ Costs and reasonable attorney’s fees; and,
l 21 _ D. For such other and further relief as may lie just and proper.
22
33
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25
26
.By: _
27 _ ` Todd'M. Friedman, Esq.
28 .- » Lau_r Of£ices of Todd M. Friedman, P.C.
_ Attomey for Plain'tiff
Gcmplaint - 4

 

 

 

 

 

 

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Case 2:15-CV-08666-FI\/|O-.]EI\/| Document 3-1 Filed 11_/05/15_ Page 5 of 14 Page- |`D'#:12

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‘ LOS ANGBLBS SUPBRIORCDUKI`
SUPERIOR COURT Ol~` Tl-lE STATE OF CALIFORN]A

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' Case No.: ` ' emma

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TD EACH PARTV AND TO THE A'I'I`ORNEY OF RECORD FbR EACH PARTY:

Pursuant to the Califomla Code ofClvil l’rocedure. the Califomia Rule`s of Court. end the Loe
Angelee County Superior Court Local Rules, the COURT HEREBY lSSUES 1'HE FOLLOWINO
GENI~',RAL ORDERS THAT Sl-IALL APPLY TO ALL LlMlTED C]VIL (NON-COLLECTION)
CASES FILBD AND/OR HBARD IN DBPAR'I'MI:`.'I\|T 77.

 

ID.HLEMJIE§EBM§E. AS MANDATED IN THIS ORDBR.
2. 'I'he Court sets the following trial date in this ease in Deparunent. 77 (6“‘ iloor, Room
635) ar u\e"smnley Mbsk courthouse m Nord\ utu sent Los meet cA 90012=

 

__M _ attitinuuozroa;uuoseowtn'_m

0 Date: ' ' at 8:30 a.m.

 

 

 

_ SERVlCE OI" SUMMONS AND CUM.PL_AWI'
3. 'I'he trial date set forth above is conditioned on the defendes) being served with the
- . This‘ ls not an appearance

 

simmonsandcomp|aint" ‘ _ _. . _ _ . _.
date ate. 'I'he trial date may be continued to a later date ifeervice is not accomplished within six months.

GenerelOrder- Fage 1 oM

 

 

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'Case 2:15-cV-08666-FI\/|O-.]EI\/| Document 3-1 Filed 11/05/15- Page 6.01c 14 Page |D #:13

The parties may stipulate to keep the original trial date even if service of the summons end complaint
is not completed within six months of the filing of the original complaint

4. _ The summons and complaint_shall be served upon the defendant(s) within _tlm‘& years

nder did complaint ii filed in`ihis drum tcon civ. Pro¢., § 533.210, subd (d).) renew 10 comply
will result in dismissai, without prejudice, of thc action, as to all unserved parties who have not been
dismissed ad dr rim data (cod¢ civ.. rmc.. § ssi, subd (b)(4).) rod dionisio-as co ihe unserved
pcrties, without prejudioe, for this ease shall be effective on the following date.

 

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S. No Cese Monagement Review (CMR) and no Mandatory Settlement (MSC) or Final
Status Conferences (FSC) will be conducted m this case.

L'Aw ANn aro'rroN

6. . All regularly noticed pre-trial motions will be heard in Depart.ment 77' on Mondays,
Tuesdays, Wednesdays, and Thursdays at 8: 30 a.m. A motion will be heard only if a party reserves
a hearing date by calling Ql_]j_l&n]]l A|l motions should be filed' m Room l(lZ of the Stanley
Mosk Courthouse. . 1

'7. b gaming may be posted on the Court's intemet site no later than the day prior
to the hearing. To'access tentative nilings, parties may go to laeourt.org, select “Civil Division,”
and then click on ul'l`¢:ntative Rulings.” '
///'
/l/

. General order -Page 2 of4

 

 

»_ .-_ ___ _»¢_ _.¢¢~» »_~ -

 

 

Case 2:15-CV-08666-FI\/|O-.]EI\/| Document 3-1 Filed 11/05/15 Page 7 of 14 Page |D #:14

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t .
' iv. Joint Exhibits' in Exhibit Books, numbered appropriately and Exhibit List;

‘ EX PARTE.APPLICATIONS'
' 8. Ex Parte applications must be noticed for 1:30 p.m. in Department_ 77. All applications
must be filed by 1:00 p.m. in Room 102 of the Stanley Mosk Courthouse.

JuRY russ y
9. 4 The fees for a jury trial shall be due no later than 3_65 calendar days aRer the liling of
the initial oomplaint, or as otherwise provided by Code of Civil Procedure section 631, subdivisions

(b) end (¢)-

STIPULA’I'ION TO CONTINUE TRLAL
l 10. A trial will be postponed lf all attorneys of record and/or the parties who have appeared
in the action stipulate m writing to a specific continued date. Ifthe Stipulat_ion' 1a filed less than five
(5) court days before the scheduled trial date, then _a courtesy copy of the Stipulation must bc tiled' 111
Depaxtmeut 77. The Stipulation and Order should be f led 111 Room 102 of the Stanley Mosk
Courthouse with the required filing fees.

mmi-

bring with them to Department 7_7 all of the following:
i. A printed Joint Statement of the Case;
ii._ Motions° 111 Lim_ine, which must be served and filed’ m accordance with the Local Rulcs
of the Los An_'geles Superior Cout't (LASC) ag Local Rule 3. 57;
n iii. A printed Ioint Wit_ness List disclosing an offer of proof regardmg each testimony, the
time expected for lestimony, and the need of an interpreter;

v. Printed Joint Pnoposed Jury Instmctions, and
vi. A printed Joint Proposed Verdi_ct 'form(s).

 

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Genaral 'Or¢ter- Page 3 oht

_ l l. 1 Parties are to appear on the trial date readyto go to trial and mu_s_t meet and_confcr on d
all pretrial matters at least 20 calendar days before the trial date.1 On the day of trial, the parties shall

 

 

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Case 2:15-CV-08666-FI\/|O`-.]EI\/| Document 3-1 Filed 11/05/15 Page 8 of 14 Page |D #:15

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DAmD: june 3 l,2015

    
 

011. Kevln C. Brazile
.ludge of the Superior Court
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'General_Order- Page 4.0f 4 '

 

 

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Case 2:15`-CV-08666-FI\/|O-.]EI\/| Document 3-1 Filed 11/05/15 Page 9 of 14 Page |D #:16

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Case 2:15-cv-08666-FI\/|O-.]EI\/| Document 3-1 Filed 11/05/15 Page 10 of 14 Page |D #:17

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Thie form is required pursuant to Local Rule 2.0 in all new civil ease tiltnpe‘ in ttie Los Angeloe Supoitor Court.

 

 

Item l. Ctieek the types of hearing and till in the estimated length of hearing ex!|:oi:tad for this ease:
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Local Rule 2.0

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Case 2:15-cv-08666-FI\/|O-.]EI\/| Document 3-1 Filed 11/05/15 Page 12 of 14 Page |D #:19

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Case 2:15-cv-08666-FI\/|O-.]_EI\/| Document 3-1 Filed 11/05/15 Page 14 of 14 Page |D #:21

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